[Cite as State v. Dailey, 2024-Ohio-3166.]




                      IN THE COURT OF APPEALS
            FIRST APPELLATE DISTRICT OF OHIO
                       HAMILTON COUNTY, OHIO




STATE OF OHIO,                               :   APPEAL NO. C-230687
                                                 TRIAL NO. B-2202912
       Plaintiff-Appellee,                   :

 vs.                                         :
                                                         O P I N I O N.
PATRICK DAILEY,                              :

    Defendant-Appellant.                     :




Criminal Appeal From: Hamilton County Court of Common Pleas

Judgment Appealed From Is: Affirmed and Appeal Dismissed in Part

Date of Judgment Entry on Appeal: August 21, 2024



Melissa A. Powers, Hamilton County Prosecuting Attorney, and Norbert Wessels,
Assistant Prosecuting Attorney, for Plaintiff-Appellee,

Laursen, Colliver, Mellott LLC and Erik W. Laursen, for Defendant-Appellant.
                      OHIO FIRST DISTRICT COURT OF APPEALS



ZAYAS, Judge.

       {¶1}    Following guilty pleas, Patrick Dailey was convicted of attempted

robbery and abduction. The plea agreement included an agreed aggregate sentence of

66 months. Dailey now appeals, and in three assignments of error, he argues that the

trial court failed to advise him of his right to confront witnesses against him and

inadequately informed him of postrelease control prior to accepting his pleas,

rendering the pleas involuntary, and that his written plea form was altered after he

executed it. For the following reasons, we affirm the judgment of the trial court.

                                   Plea Colloquy

       {¶2}    In his first assignment of error, Dailey contends that the trial court

failed to comply with Crim.R. 11 when it did not advise him that he was waiving his

right to confront the witnesses against him, rendering his pleas constitutionally infirm.

During the plea colloquy, the trial court explained to Dailey that by entering guilty

pleas, he would “give up your right to see all of the witnesses against you and have your

attorney cross-examine them.” Daily argues that this explanation was insufficient

because the court failed to explain that Dailey had the right to confront the witnesses

against him.

       {¶3}    When reviewing a trial court’s acceptance of a guilty plea, the ultimate

inquiry is whether the defendant’s plea was entered in a knowing, intelligent, and

voluntary manner. State v. Veney, 2008-Ohio-5200, ¶ 7, citing State v. Engle, 74 Ohio

St.3d 525 (1996). When an appellate court reviews a trial court’s acceptance of a guilty

plea, it must independently review the record to ensure that the trial court followed

the dictates of Crim.R. 11(C). State v. Kelley, 57 Ohio St.3d 127, 128 (1991).

       {¶4}    A trial court must strictly comply with Crim.R. 11(C)(2)(c) and orally




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advise a defendant before accepting a felony plea that the plea waives certain

constitutional rights. See Crim.R. 11(C)(2); Veney at the syllabus. In relevant part,

Crim.R. 11(C)(2)(c) provides that the court shall, prior to accepting a guilty plea,

inform the defendant and determine that the defendant understands that by pleading

guilty, the defendant is waiving the right “to confront witnesses against him or her.”

A trial court’s failure to notify a defendant of the constitutional rights listed in Crim.R.

11(C)(2)(c) constitutes plain error. See Veney at ¶ 24.

       {¶5}    A trial court is not required to recite the exact language contained in

Crim.R. 11(C)(2). State v. Ballard, 66 Ohio St.2d 473 (1981), paragraph two of the

syllabus. The court need “not provide a word-for-word recitation of the criminal rule,

so long as the trial court actually explains the rights to the defendant.” Veney at ¶ 27.

A plea will not be vacated if the record shows that the trial court’s explanation of the

constitutional rights being waived by entering a guilty plea was done “in a manner

reasonably intelligible to that defendant.” Ballard at paragraph two of the syllabus.

Put differently, “the record must provide a sufficient basis for the conclusion ‘that

defendant was meaningfully informed of the specific rights enumerated in [Crim.R.

11(C)(2)(c)].’ . . . The defendant does not have to be advised in the exact language of

the constitution to be meaningfully informed.” (Citations omitted). Id. at 480.

       {¶6}    Here, with respect to the right to confront the witnesses against him, the

court explained, “You also give up your right to see all of the witnesses against you and

have your attorney cross-examine them. Do you understand that?” In response,

Dailey nodded affirmatively. According to Dailey, the explanation was deficient

because the court used the word “see” instead of “confront.” However, the focus is on

whether the record shows that the explanation was done “in a manner reasonably




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                       OHIO FIRST DISTRICT COURT OF APPEALS



intelligible to that defendant.” Id. at 480. The court’s explanation that the guilty pleas

would waive the right to “see” and “cross-examine” the witnesses was a reasonably

intelligible description that adequately informed Dailey of his right to confront the

witnesses against him. See State v. Anderson, 108 Ohio App.3d 5 (9th Dist. 1995)

(holding that defendant’s right to confront witnesses was adequately explained by the

statement “You are giving up your right . . . to cross-examine witnesses.”); State v.

McNeal, 2001 Ohio App. LEXIS 1596, *3 (8th Dist. April 5, 2001) (holding the

statement that “you’re giving up your right to cross-examine, through your lawyers,

the witnesses for the prosecution” was sufficient to advise defendant of his right to

confront witnesses).

       {¶7}    We overrule the first assignment of error.

                                Postrelease Control

       {¶8}    Next, Dailey contends that his pleas were not knowingly, voluntarily and

intelligently entered because the trial court inadequately explained the impact of the

guilty pleas in regard to postrelease control.

       {¶9}    Prior to accepting a plea, the trial court must inform the defendant of

certain nonconstitutional rights, such as the maximum penalty, which includes an

advisement on postrelease control. See Crim.R. 11(C)(2)(a); State v. Sarkozy, 2008-

Ohio-509, ¶ 22 (explaining postrelease control is a nonconstitutional advisement).

When explaining the rule’s nonconstitutional provisions, the trial court need only

substantially comply with Crim.R. 11. Veney, 2008-Ohio-5200, at ¶ 14. “But when a

trial court fails to fully cover other ‘nonconstitutional’ aspects of the plea colloquy, a

defendant must affirmatively show prejudice to invalidate a plea.” State v. Dangler,

2020-Ohio-2765, ¶ 14, citing Veney at ¶ 17.




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                      OHIO FIRST DISTRICT COURT OF APPEALS



       {¶10} Here, the trial court informed Dailey that upon his release from prison,

he would be subject to postrelease control “for up to one to three years.” The court

clarified that Dailey would be on postrelease control “anywhere from one to three

years” and determined that Dailey understood. The court noted that the postrelease-

control law had been amended several times and confirmed the accuracy of the term

of postrelease control with the bailiff.

       {¶11} Dailey contends that the advisement was deficient because “the trial

court itself could not adequately express the law and its impact upon him.” Although

the court initially misspoke regarding the potential term of postrelease control, the

court immediately corrected the error and accurately informed Dailey of postrelease

control. By correcting the record, the court complied with the requirements of Crim.

R. 11. See State v. Poage, 2022-Ohio-467, ¶ 13 (8th Dist.).

       {¶12} Accordingly, we overrule the second assignment of error.

                                 Written Plea Form

       {¶13} In his third assignment of error, Dailey alleges that his written plea form

was altered with white-out after he reviewed and executed it.

       {¶14} Dailey argues that his plea agreement was “altered” and that portions of

the agreement were “whited out” after he signed it. Dailey filed a motion to withdraw

the pleas on that basis, which was overruled. Dailey asks this court to reverse the

court’s judgments overruling his motion to withdraw his pleas.

       {¶15} However, Dailey did not appeal from the court’s order overruling his

motion to withdraw the pleas. Consequently, this court lacks jurisdiction to consider

this claim and must dismiss it. See State v. Perin, 2019-Ohio-4817, ¶ 5 (4th Dist.).

Therefore, we dismiss the third assignment of error




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                      OHIO FIRST DISTRICT COURT OF APPEALS



                                     Conclusion

       {¶16} Having overruled Dailey’s two assignments of error and dismissed the

third, we affirm the judgment of the trial court.

                                      Judgment affirmed and appeal dismissed in part.


BOCK, P.J., and KINSLEY, J., concur.



Please note:
       The court has recorded its own entry this date.




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